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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:18-cv-00987

WILDERNESS WORKSHOP,
CENTER FOR BIOLOGICAL DIVERSITY,
LIVING RIVERS: COLORADO RIVERKEEPER,
SIERRA CLUB

       Plaintiffs,

v.

U.S. BUR. OF LAND MGMT; BRIAN STEED in his official capacity
as the Deputy Director of the U.S. BLM; RYAN ZINKE in his capacity
as Secretary of the U.S. DOI; U.S. DEPT. OF THE INTERIOR

       Federal Defendants.

and
AMERICAN PETROLEUM INSTITUTE

       Intervenor Defendant


        CONSENT MOTION TO AMEND JOINT CASE MANAGEMENT PLAN


       Federal Defendants U.S. Bureau of Land Management, United States Department of

Interior, and in their official capacities, Brian Steed and Ryan Zinke (“Federal Defendants”),

hereby move to amend the parties’ Joint Case Management Plan as follows:

       Federal Defendants served a copy of the draft Administrative Record in this case on

Plaintiffs and Intervenor Defendants on September 10, 2018. On October 10, 2018 counsel for

Plaintiffs notified Federal Defendants of documents and other attachments submitted with their

comment letters that were omitted from the draft Administrative Record. After a thorough
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review of Plaintiffs’ request and after issuing an initial response, Federal Defendants located

several hundred documents and attachments that Plaintiffs submitted with their comment letters.

Federal Defendants will need additional time to add and index these documents to the final

Administrative Record. To accommodate Federal Defendants need for an extension to lodge the

final Administrative Record the parties have decided to adjust the joint case management plan

accordingly:

       1) Deadline for Filing the Final Administrative Record:

               Federal Defendants will lodge a final version of the Administrative Record on or
               before December 7th, 2018. In the event the Parties are unable to reach
               agreement on the contents and completeness of the Administrative Record,
               Federal Defendants shall file the Administrative Record on December 7th, 2018,
               which may be amended subject to the resolution of a motion to complete and/or
               supplement, discussed infra 2.
       2) Deadline for Filing Motions to Complete and/or Supplement the Administrative
          Record:

               The deadline for filing any motions to complete and/or supplement the
               Administrative Record will be January 16th, 2018. The Response and Reply
               deadlines for any such motions will be governed by D.C.COLO.L.Civ.R.7.1(C).
               The filing of a motion to supplement the Administrative Records will stay the
               merits briefing schedule set forth below until resolution of that motion, at which
               time the parties would propose a new merits briefing schedule.
       3) Plaintiffs’ Opening Brief Due:

               If no dispute or motions over the completeness of the Administrative Records are
               filed then Plaintiffs’ Opening Brief shall be filed on or before February 8th,
               2019.
       4) Federal Defendants’ Response Brief Due:

               If no dispute or motions over completeness of the Administrative Records are
               filed, then Federal Defendants’ Response Brief shall be filed on or before April
               8th, 2019.
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       5) API (Defendant Intervenors) Response Brief Due:

              If no dispute or motions over completeness of the Administrative Records are
              filed, then Defendant Intervenor’s Response Brief shall be filed on or before
              April 15th, 2019.

       6) Plaintiffs’ Reply Brief Due:

              If no dispute or motions over completeness of the Administrative Records are
              filed, then Plaintiff’s Reply Brief shall be filed on or before on or before April
              29th, 2019.




DATED this 8th day of November, 2018.


                                                      BY THE COURT


                                                      U.S. District Court Judge

APPROVED:

s/ Diana Dascalu-Joffe                               s/ Tanya Nesbitt
Diana Dascalu-Joffe                                   Tanya Nesbitt
Center for Biological Diversity                       U.S. Department of Justice
1536 Wynkoop Street, Suite 421                        Environment & Natural Resources Div.
Denver, CO 80202                                      601 D Street N.W.
Tel: (720) 925-2521                                   Washington, D.C. 20004
Fax: (303) 572-0032                                   Tel: (202) 305-0457
ddascalujoffe@biologicaldiversity.org                 tanya.nesbitt2@usdoj.gov

Wendy Park                                           Attorney for Federal Defendants
Center for Biological Diversity
1212 Broadway, # 800
Oakland, CA 94612                                    s/ Steven J. Rosenbaum
Tel: (510) 844-7138                                  Steven J. Rosenbaum
Fax: (510) 844-7150                                  COVINGTON & BURLING, LLP
wpark@biologicaldiversity.org                        One CityCenter
                                                     850 Tenth St., N.W.
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Kyle Tisdel                             Washington, D.C. 20001
Western Environmental Law Center        Tel: (202) 662-6000
208 Paseo del Pueblo Sur, Suite 602     Fax: (202) 662-6291
Taos, New Mexico 87571                  srosenbaum@cov.com
Tel: (575) 613-8050
tisdel@westernlaw.org                   Richard C. Kaufman
                                        Ryley Carlock & Applewhite
Attorneys for Plaintiffs                1700 Lincoln Street, Suite 3500
                                        Denver, CO 80203
                                        Tel: (303) 813-6745
                                        Fax: (303) 595-3159
                                        rkaufman@rcalaw.com

                                        Attorneys for Defendant Intervenor API
